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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

CHARLES MASON,

Plaintiff,

v.                                                           Case No. 6:10-cv-1724-Orl-35GJK

ANDREU, PALMA & ANDREU, PL.,

Defendant.
______________________________________/


       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Having amicably resolved all matters in controversy and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice with each

party to bear its own attorneys’ fees and costs.



Dated: December 20, 2011                      Respectfully submitted,


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